       Case 4:10-cr-00186-SWW Document 277 Filed 12/04/12 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES OF AMERICA

V.                                   NO. 4:10CR00186-008    SWW

LAVERN DUNNICK



                                     ORDER

      Before the Court are the government’s motions for revocation of the

conditions of probation [docs #273 & #274] previously granted the above defendant

in this matter.

      A hearing is scheduled to begin on MONDAY, DECEMBER 17, 2012 AT 2:00 P.M.,

Courtroom #389, Richard Sheppard Arnold United States Courthouse, 600 West

Capitol Avenue, Little Rock, Arkansas, to show cause why the probation previously

granted this defendant should not be revoked.

      The Clerk is directed to issue summons for the hearing in this matter and

the U. S. Marshal is directed to serve the summons on the above-named defendant.

      IT IS SO ORDERED this 4th day of December 2012.


                                             /s/Susan Webber Wright
                                             UNITED STATES DISTRICT JUDGE
